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                                CRITCHLEY, KINUM & LURIA, LLC
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MICHAEL CRITCHLEY, JR.                                                                          (973) 422 – 9700 fax
CHRISTOPHER W. KINUM                                                                               www.critchleylaw.
AMY LURIA
______________

ARMANDO B. SUÁREZ




                                                   September 28, 2022


     By ECF Filing
     Hon. Michael A. Shipp
     United States District Court
     District of New Jersey
     United States Courthouse
     402 East State St., Room 2020
     Trenton, NJ 08608

               Re: CC Ford Group, LLC v. Johnson, 22-cv-04143-MAS-DEA
     Dear Judge Shipp:
            Along with Slarskey LLC, we represent Defendant Jennifer Johnson and Project Velocity, Inc.
     in connection with the above-referenced dispute (the “Action”).
          We write to advise the Court of the following:
          1) Ms. Johnson’s Linkedin profile has been updated to indicate clearly that she departed CC Ford
             Group West in March 2022; and
          2) Ms. Johnson is sending to Mr. Adler, via FedEx, the laptop referenced by Mr. Adler at today’s
             conference.
          We thank the Court for the Court’s time and attention to this matter.
                                                   Respectfully submitted,
                                                   /s/ Amy Luria
                                                   Amy Luria
                                                   Critchley, Kinum & Luria, LLC


                                                   /s/ David Slarskey
                                                   David Slarskey
                                                   Slarskey LLC
                                                   420 Lexington Avenue, Suite 2525
                                                   New York, NY 10170
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